                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI


 JABBOK SCHLACKS and WILLIAM
 SCHLACKS,
                               Plaintiffs,            2:24-CV-04118-BCW
                v.

 NEIL CHHEDA, SCHLACKS 2020
 TRANSFER LLC, and RC
 OPPORTUNITY LLC,
                               Defendants.


                         DEFENDANTS’ UNOPPOSED MOTION TO STAY
                            PENDING INTERLOCUTORY APPEAL

       Defendants Neil Chheda, Schlacks 2020 Transfer LLC (“2020 LLC”), and RC Opportunity

LLC (“RC Opportunity”) (collectively, “Defendants”) respectfully request that this Court stay the

present proceedings pending the resolution of Defendants’ interlocutory appeal of the Court’s

denial of Defendants’ motion to compel arbitration, as mandated by Coinbase, Inc. v. Bielski, 599

U.S. 736 (2023). In support, Defendants state as follows:

       1.      On May 22, 2024, 2020 LLC and RC Opportunity filed a demand for arbitration

with JAMS seeking to enforce the contracts at issue in this action.

       2.      On July 10, 2024, after failing to substantively respond to the JAMS arbitration

demand, Jabbok Schlacks and William Schlacks (“Plaintiffs”) instead filed a complaint, initiating

this action. (Doc. 1.)

       3.      On July 26, 2024, Plaintiffs filed the First Amended Complaint. (Doc. 8.)

       4.      On September 19, 2024 and in accordance with the Federal Arbitration Act,

Defendants filed a motion to compel arbitration pursuant to 9 U.S.C. § 4 and to stay the federal




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action pending the outcome of the JAMS arbitration. (Doc. 21.) The Court heard oral argument

on the parties’ competing motions regarding arbitrability on November 19, 2024.

        5.      On February 14, 2025, this Court denied Defendants’ motion to compel arbitration

(the “Motion to Compel Order”). (Doc. 69.) Under the Federal Arbitration Act, the Motion to

Compel Order is immediately appealable. 9 U.S.C. § 16(a)(1)(B) (an appeal may be taken from

an order “denying a petition under section 4 of this title to order arbitration to proceed”).

        6.      On March 13, 2025, Defendants filed a notice of appeal with this Court pursuant to

Federal Rule of Appellate Procedure 4(a), appealing the Motion to Compel Order.

        7.      Pursuant to Coinbase Inc. v. Bielski, these trial court proceedings must be stayed

pending the outcome of Defendants’ interlocutory appeal. In Coinbase, the Supreme Court held

that “a district court [must] stay its proceedings while the interlocutory appeal on the question of

arbitrability is ongoing.” U.S. 736 at 744; see also A.O.A. v. Rennert, No. 4:11 CV 44 CDP, 2023

WL 8641601, at *1 (E.D. Mo. Sept. 5, 2023) (determining that, under Coinbase, the court “must

stay these proceedings while that interlocutory appeal is pending given its central question on

whether litigation of plaintiffs’ claims can proceed in this forum”). The Coinbase Court further

explained that the question of arbitrability cannot be severed from the underlying merits of the

case, as the sole issue on appeal is the district court’s authority to consider the case. Coinbase Inc.,

U.S. 736 at 747. Therefore, the case as a whole must be stayed, as no part of the case is not

involved in the appeal.

        8.      On March 13, 2025, Defendants conferred with Plaintiffs regarding this motion,

and, having reviewed a draft of it, Plaintiffs do not oppose this motion.

        WHEREFORE, pursuant to Coinbase, Inc. v. Bielski, Defendants respectfully request that

this Court grant Defendants’ unopposed motion and stay all proceedings in this action pending the



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resolution of Defendants’ interlocutory appeal of this Court’s order denying Defendants’ motion

to compel arbitration.



 Dated: March 13, 2025                            Respectfully Submitted,

                                                  LEWIS RICE LLC

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                                CERTIFICATE OF SERVICE

       I, Scott A. Wissel, hereby certify that a copy of the foregoing document, filed through the
CM/ECF system, will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing on March 13, 2025.



                                                    /s/ Scott A. Wissel




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